






Opinion issued April 17, 2008










In The

Court of Appeals

For The

First District of Texas






NO. 01-07-01115-CV






2002 BLACK  HONDA CIVIC,  Appellant


V.


THE STATE OF TEXAS,  Appellee






On Appeal from the 56th DistrictCourt 

Galveston County, Texas

Trial Court Cause No. 07cv1099






MEMORANDUM OPINION	Appellant, Royale LaJuane George , has neither established indigence, nor paid
all the required fees.  See Tex. R. App. P. 5 (requiring payment of fees in civil cases
unless indigent), 20.1 (listing requirements for establishing indigence); see also Tex.
Gov't Code Ann. §§ 51.207 (Vernon 2005), 51.208 (Vernon Supp. 2007); 51.941(a)
(Vernon 2005), 101.041 (Vernon Supp. 2007) (listing fees in court of appeals); Fees
Civ. Cases B(1), (3) (listing fees in court of appeals).  After being notified that this
appeal was subject to dismissal, appellant Royale LaJuane George did not adequately
respond.  See Tex. R. App. P. 5 (allowing enforcement of rule); 42.3(c) (allowing
involuntary dismissal of case).

	We dismiss the appeal for nonpayment of all required fees.  We deny all
pending motions.

PER CURIAM

Panel consists of Chief Justice Radack and Justices Jennings and Bland.


